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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

DELORIS BURKETT,

        Plaintiff,
v.                                                              CASE NO. 1:03-cv-00103-MP-AK

ALACHUA COUNTY, et al.,

      Defendants.
___________________________/

                                            ORDER

        This matter is before the Court on Doc. 84, Motion to Compel and Motion for Sanctions

by Deloris Burkett. This Court held a telephone conference regarding all pending matters on

Friday, April 29, 2005. Also pending are Defendants' Motion for Summary Judgment, Doc. 74,

and Motion to Bifurcate, Doc. 86, as well as, Plaintiff's Motion to Compel Response to

Discovery, Doc. 90, which was filed after the telephone conference was held.

        Plaintiff informed the Court that the deposition of Louis Tetstone, the subject of the

initial Motion to Compel, Doc. 84, had been taken. Therefore, this motion is moot except for the

issue of fees and costs to be awarded. The Court will address the issue of fees and costs at the

end of this litigation.

        Plaintiff informed the Court that a second Motion to Compel would be filed following the

telephone conference. Such a Motion was filed on Monday, May 2, 2005, Doc. 90. Plaintiff

contends that certain medical records in the possession of Prison Health Services/First

Correctional Medical, a non-party, have not been given to Plaintiff following a subpoena duces

tecum without deposition. The Plaintiff appears to have served two separate subpoenas, neither

of which have produced a response. The Court will hold a hearing on this matter. Prison Health

Services/First Correctional Medical is ordered to appear through counsel at such hearing.
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        The parties also indicated that evidence which may be available from Prison Health

Services/First Correctional Medical would impact the parties summary judgment arguments.

Therefore, the Court will hold in abeyance any further action on the Motion for Summary

Judgment until final resolution of the Second Motion to Compel.

        The parties also indicated to the Court that the issue of bifurcation could be moot

depending on the resolution of the Motion for Summary Judgment. Therefore, the Court will

withhold judgment on that matter until final disposition of the summary judgment issue.

        ORDERED AND ADJUDGED:

        1.       Plaintiff's initial Motion to Compel and Motion for Sanctions, Doc. 84, is
                 DENIED as to the Motion to Compel portion, as that issue is now moot . The
                 Court will address the issue of awarding fees and costs when all matters in this
                 litigation have been resolved.

        2.       The Court will hold a hearing on Plaintiff's second Motion to Compel, Doc. 90,
                 on Thursday, June 23, 2005, at 1:00 P.M. Prison Health Services/First
                 Correctional Medical is ordered to appear through counsel at this hearing.

        3.       The clerk is directed to serve a copy of this order via certified mail to the state
                 registered agent of Prison Health Services/First Correctional Medical at CT
                 Corporation System, 1200 S. Pine Island Road, Plantation, FL 33324.

        4.       New deadlines for filing supplemental pleading on the Motion for Summary
                 Judgment, Doc. 74, will be issued following the resolution of Plaintiff's Second
                 Motion to Compel.

        5.       Defendant's Motion to Bifurcate, Doc. 86, will be addressed following the Court's
                 resolution of Defendant's Motion for Summary Judgment. A response deadline to
                 the Motion to Bifurcate will also be entered following resolution of the Motion for
                 Summary Judgment.

        DONE AND ORDERED this 12th                  day of May, 2005.

                                          s/Maurice M. Paul
                                    Maurice M. Paul, Senior District Judge



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